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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

MELISSA MEYER, on behalf of herself
and others similarly situated,

              Plaintiff,

v.                                                      Case No. 3:14-cv-393-MMH-JBT

DIVERSIFIED CONSULTANTS, INC.,

              Defendant.
                                          /

                           NOTICE OF PENDING SETTLEMENT

       Defendant, Diversified Consultants, Inc., by and through its undersigned counsel,

hereby submits this Notice of Pending Settlement and states that the parties have reached

a verbal settlement with regard to this case and are presently drafting, finalizing, and

executing the settlement and dismissal documents. Upon execution of the same, the

parties will file the appropriate dismissal documents with the Court.

                                          Respectfully submitted,

                                          /s/ Dayle M. Van Hoose
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                                        Attorneys for Defendant,
                                        Diversified Consultants, Inc.


                            CERTIFICATE OF SERVICE

      I hereby certify that on the 24th day of February 2015, a copy of the foregoing was

served electronically via CM/ECF on the following:

                               Aaron D. Radbil, Esq.
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                                        /s/ Dayle M. Van Hoose
                                        Attorney




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